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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x
 In re:                                                                   Case No. 16-35143(CGM)
         RICHARD B. COLLETTI,                                             Chapter 13


                                     Debtor.
 ------------------------------------------------------------------x


                               AMENDED LOSS-MITIGATION ORDER

 A Loss Mitigation Request1 was filed by the

         X□ Debtor on [Date] October 13, 2016;
         □ Creditor on [Date] _____________, 20__;
         □ The Court raised the possibility of Loss Mitigation on [Date] __________, 20__.

 Pursuant to the Loss Mitigation Program Procedures, the parties have had notice and an
 opportunity to object. Upon the foregoing, it is hereby

         ORDERED, that the following parties (collectively, the “Loss Mitigation Parties”) are
 directed to participate in Loss Mitigation on Loan ending in 0912:

         1. The Debtor, Richard B. Colletti; and

        2. The Creditor, SN Servicing Corporation, as servicing agent for US Bank National
 Trust Association, as Trustee for SCIG Series III Trust with respect to 137 Bull Mills Road,
 Chester, NY 10918. (SN Servicing Corporation is being substituted in place and instead of
 Shellpoint Mortgage Servicing, which was the servicing agent named in the original Loss
 Mitigation Order entered by this Court on November 14, 2016 as ECF #17.)

      ORDERED, that the Loss Mitigation Parties shall comply with the Southern District of
 New York Loss Mitigation Program Procedures; and it is further

         ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

 1
  Unless otherwise provided herein, all capitalized terms are defined in the Southern District of New York’s Loss
 Mitigation Program Procedures.
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         1. Within 7 days of the entry of this Order:

                  o Service of this Order: The Loss Mitigation Party seeking Loss Mitigation
                    shall serve this Order upon the other Loss Mitigation Parties and any
                    additional parties that were served with the Loss Mitigation Request. Upon
                    service of this Order, an affidavit of service shall be filed with the Court.

         2. Within 7 days of the service of the Loss Mitigation Order:

                  o Designation of Contact Persons: Each Loss Mitigation Party shall designate
                    contact persons and disclose contact information, unless this information has
                    been previously provided. As part of this obligation, the Creditor shall furnish
                    each Loss Mitigation Party with written notice of the name, address and direct
                    telephone number of the person who has full settlement authority on the loan
                    in question as well as the attorney or law firm representing the Creditor in the
                    Loss Mitigation; and

                  o Creditor Loss Mitigation Affidavit: The Creditor shall serve upon the
                    Debtor and Debtor’s attorney a request for information using the “Creditor
                    Loss Mitigation Affidavit”2 form and shall file the “Creditor Loss Mitigation
                    Affidavit” form and proof of service of same on the Court’s Electronic Case
                    Filing System (ECF). The Creditor may designate its contact and attorney in
                    the “Creditor Loss Mitigation Affidavit.”

         3. Within 14 days of the service of the Creditor Loss Mitigation Affidavit:

                  o Debtor Loss Mitigation Affidavit: The Debtor shall serve upon the Creditor
                    all documents requested in a response to Creditor’s request for information
                    using the “Debtor Loss Mitigation Affidavit” and Debtor shall file proof of
                    service of said documents using the “Debtor Loss Mitigation Affidavit” on
                    ECF. All documents shall be sent in one complete package and served upon
                    the Creditor’s designated contact person and the Creditor’s attorney.

         4. Within 21 days of the service of the Debtor Loss Mitigation Affidavit:

                  o Conference Call: The Loss Mitigation Parties and their attorneys shall
                    participate in a conference call to discuss the status of Loss Mitigation.

                  o Second Creditor Loss Mitigation Affidavit (if any): The Creditor shall file
                    on ECF and serve upon the Debtor and Debtor’s counsel a second “Creditor

 2
  Italicized words in quotations indicate that there is a form by the same name on the Bankruptcy Court’s website.
 These forms shall be used whenever applicable.
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                  Loss Mitigation Affidavit” setting forth any additional financial documents
                  required from the debtor(s), including, if applicable, a detailed description of
                  any inconsistencies found by the Creditor in the Debtor’s documents that
                  requires further clarification and the clarification required, together with an
                  affidavit of service for same. Failure to timely file the “Creditor Loss
                  Mitigation Affidavit” requesting additional documents or explanations of
                  inconsistences, if any, may result in the Creditor waiving its right to obtain
                  addition financial information from the Debtor and said Creditor may be
                  required to accept the Debtor’s representations regarding income or other
                  financial matters;

      5. Within 14 days of the service of the Second Creditor Loss Mitigation Affidavit:

               o Second Debtor Loss Mitigation Affidavit (if any): The Debtor shall provide
                 any requested information to the Creditor and file on ECF a second “Debtor
                 Loss Mitigation Affidavit” demonstrating service of same upon the Creditor.

      6. Within 60 days of the service of the Loss Mitigation Order:

               o Second Conference Call: The Loss Mitigation Parties and their attorneys
                 shall participate in a second conference call if any documents remain
                 outstanding.

               o Status Report: The Loss Mitigation Parties shall file a status report in the
                 form of a letter evidencing compliance with this Order and updating the Court
                 on the status of the Loss Mitigation and summarizing the conference call.

      7. Within 75 days of service of the Loss Mitigation Order:

               o Status Conference: An first status conference shall be held in this case on
                 January 10, 2017 at 9:30 AM at the United States Bankruptcy Court located
                 at 355 Main Street, Poughkeepsie, NY (the “Initial Status Conference”). The
                 Loss Mitigation Parties shall appear at the Status Conference and provide the
                 Court with a verbal Status Report. The Initial Status Conference cannot be
                 adjourned without permission of the Court and consent of the other Loss
                 Mitigation Parties.

                     If the Debtor has failed to provide any and all of the requested documents
                      prior to the Initial Status Conference, the Debtor shall appear at the Initial
                      Status Conference with said documents or be prepared to testify as to why
                      the Debtor has failed to provide them.

                     Should Debtor fail to provide to the Creditor all requested documentation
                      as required by the Creditor’s First and/or Second Loss Mitigation
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                          Affidavits by the Initial Status Conference, the Creditor may seek
                          termination of Loss Mitigation at the Initial Status Conference, provided
                          that the Creditor files a “Request to Terminate Loss Mitigation” at least
                          seven (7) days prior to the Initial Status Conference in accordance with the
                          Loss Mitigation Program Procedures.

                         At the Initial Status Conference, the Court may consider a Settlement
                          reached by the Loss Mitigation Parties, or may adjourn the Initial Status
                          Conference, as necessary.


        8. Within 30 days of the Initial Status Conference:

                o Creditor Status Report: The Creditor shall file a status report indicating
                  whether or not the Debtor is entitled to a loan modification. If a modification
                  is offered, this status report shall set forth the terms and conditions thereof. If
                  no determination has been made upon this loan, the status report shall include
                  the name and phone number of the underwriter reviewing the file and the
                  exact level of review of the loan. Failure to do so may result in the Court
                  scheduling a date for Creditor, by a representative of same with full settlement
                  and negotiation authority, to appear before it to explain why it has not
                  provided to the Debtor with such information.

                             Appearance of Bank Representative: Should a representative of the
                              Creditor be required to appear at any time during the Loss Mitigation,
                              the Creditor shall file a letter designating the agent appearing before
                              the Court upon ECF.

 And it is further

         ORDERED, that any matters that are currently pending between the Loss Mitigation
 Parties may be adjourned by the Court to the date of the Initial Status Conference to the extent
 those matters concern (1) relief from the automatic stay, (2) objection to the allowance of a proof
 of claim, (3) reduction, reclassification or avoidance of a lien, (4) valuation of a Loan or
 Property, (5) objection to confirmation of a plan of reorganization; or (6) any other matter so
 scheduled by the Court.

         ORDERED that in a chapter 7 case, the entry of this Order automatically defers the entry
  of an order granting the Debtor’s discharge until one day after an “Order Terminating Loss
  Mitigation and Final Report” is filed pursuant to Federal Rule of Bankruptcy Procedure
  4004(c)(2). The time to object to the Debtor’s discharge or the dischargeability of a debt is
  NOT extended by this Order; and it is further


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         ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
 file an objection to a plan of reorganization shall be extended until 14 days after the filing of an
 “Order Terminating Loss Mitigation and Final Report.”




                                                               /s/ Cecelia G. Morris
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Dated: June 19, 2019
                                                               Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                               Chief U.S. Bankruptcy Judge
